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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  JEE YEON SEUNG                                                     2:22−cv−08919−JFW−AS
                                                   Plaintiff(s),

           v.
  FIRST IC BANK, et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENT




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your filed document:

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                                                   Clerk, U.S. District Court

  Dated: January 4, 2023                           By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                      Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge



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Case Please
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            refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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